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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Norix Group, Inc.
                                                   Plaintiff,
v.                                                              Case No.: 1:17−cv−07914
                                                                Honorable John Robert
                                                                Blakey
Correctional Technologies, Inc. d/b/a Cortech
USA, et al.
                                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 29, 2024:


        MINUTE entry before the Honorable M. David Weisman: By agreement of the
parties, the status hearing set for 7/30/24 will begin at 11:00 a.m. rather than at 9:15 a.m.
(PLEASE NOTE TIME CHANGE.) Parties may appear in person or dial in using the
Court's conference call in number. The conference call−in number is 1−855−244−8681
and the access code is 2316 422 1828##. Persons granted remote access to proceedings are
reminded of the general prohibition against photographing, recording, and rebroadcasting
of court proceedings. Violation of these prohibitions may result in sanctions, including
removal of court issued media credentials, restricted entry to future hearings, denial of
entry to future hearings, or any other sanctions deemed necessary by the Court. Mailed
notice (ao, )




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